

Matter of Brighton Grassroots, LLC v Town of Brighton (2022 NY Slip Op 05405)





Matter of Brighton Grassroots, LLC v Town of Brighton


2022 NY Slip Op 05405


Decided on September 30, 2022


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on September 30, 2022
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., CENTRA, PERADOTTO, AND NEMOYER, JJ.


610 CA 21-01361

[*1]IN THE MATTER OF BRIGHTON GRASSROOTS, LLC, PETITIONER-PLAINTIFF-APPELLANT,
vTOWN OF BRIGHTON, TOWN BOARD OF TOWN OF BRIGHTON, TOWN OF BRIGHTON PLANNING BOARD, M &amp; F, LLC, DANIELE SPC, LLC, MUCCA MUCCA, LLC, MARDANTH ENTERPRISES, INC., DANIELE MANAGEMENT, LLC, COLLECTIVELY DOING BUSINESS AS DANIELE FAMILY COMPANIES, RESPONDENTS-DEFENDANTS-RESPONDENTS, ET AL., RESPONDENTS-DEFENDANTS. (APPEAL NO. 3.) 






THE ZOGHLIN GROUP, PLLC, ROCHESTER (MINDY L. ZOGHLIN OF COUNSEL), FOR PETITIONER-PLAINTIFF-APPELLANT.
WEAVER MANCUSO BRIGHTMAN PLLC, ROCHESTER (JOHN A. MANCUSO OF COUNSEL), FOR RESPONDENTS-DEFENDANTS-RESPONDENTS TOWN OF BRIGHTON, TOWN BOARD OF TOWN OF BRIGHTON, AND TOWN OF BRIGHTON PLANNING BOARD. 
WOODS OVIATT GILMAN LLP, ROCHESTER (WARREN B. ROSENBAUM OF COUNSEL), FOR RESPONDENTS-DEFENDANTS-RESPONDENTS M &amp; F, LLC, DANIELE SPC, LLC, MUCCA MUCCA, LLC, MARDANTH ENTERPRISES, INC., AND DANIELE MANAGEMENT, LLC, COLLECTIVELY DOING BUSINESS AS DANIELE FAMILY COMPANIES. 


	Appeal from an order of the Supreme Court, Monroe County (J. Scott Odorisi, J.), entered September 9, 2021. The order denied the motion of petitioner-plaintiff for a preliminary injunction. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed.
Same memorandum as in Matter of Brighton Grassroots, LLC v Town of Brighton Planning Bd. ([appeal No. 1] — AD3d — [Sept. 30, 2022] [4th Dept 2022]).
Entered: September 30, 2022
Ann Dillon Flynn
Clerk of the Court








